Case 1:20-cr-00008-MKB Document 105 Filed 02/13/23 Page 1 of 2 PageID #: 518




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------x

UNITED STATES OF AMERICA,                             Case No. 1:20-cr-00008 (MKB)

                 -against-                            NOTICE OF MOTION


STEVEN NERAYOFF,
                                                      ORAL ARGUMENT REQUESTED
                          Defendant

--------------------------------------------------x


        PLEASE TAKE NOTICE that upon the Declaration of Michael A. Scotto, Esq., dated

February 13, 2023, all the exhibits attached thereto, the accompanying Memorandum of Law, and

all prior papers and proceedings in this action, the defendant Steven Nerayoff, by his undersigned

attorney, moves this Court before the Honorable Margo K. Brodie, for an Order granting the

following relief:

        (1) Dismissing the Indictment with prejudice pursuant to Fed R. Crim Pro 12(b) because it

is based upon materially false testimony submitted to the Grand Jury and thus violates the Due

Process and Grand Jury clauses of the Constitution;

        (2) Disclosing portions of the Grand Jury minutes that relate to Mr. Nerayoff’s dealing with

the alleged victims and said false testimony pursuant to Fed R. Crim. Proc 6e, or in the alternative

for the Court to perform and in camera review of such minutes;

        (3) Compelling the Government to promptly produce material described in the papers in

support of the motion as required either under Fed. R. Crim. Pro 16, this Court’s 5(f) Order and/or

under Brady v Maryland, 373 U.S. 83 (1963) and its progeny;
Case 1:20-cr-00008-MKB Document 105 Filed 02/13/23 Page 2 of 2 PageID #: 519




       (4) Allowing defendant the opportunity to renew this motion supplemented with portions

of the grand jury minutes and requested discovery or to seek additional relief based on that

disclosure if granted; and

       (5) for such other and further relief as the Court may deem just and proper.


Dated: February 13, 2023
       Port Washington, NY

                                                            Respectfully submitted,



                                                            /s/Michael A. Scotto__
                                                            Michael A. Scotto, Esq.
                                                            1225 Franklin Ave, Suite 325
                                                            Garden City, NY 11530
                                                            (516) 506-2302
                                                            mascottoesq@gmail.com




cc: Counsel for the Government (via ECF and email)




                                                2
